                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            NORTHERN DIVISION
                                    No.


 MARILYN DULL,

                Plaintiff,                                  COMPLAINT
                                                     AND DEMAND FOR JURY TRIAL
 v.

 CROATAN CENTRE OWNERS
 ASSOCIATION, INC.,

                Defendant.

       The Plaintiff, Marilyn Dull, by and through her counsel of record, for her Complaint

against Defendant Croatan Centre Owners Association, Inc., alleges as follows:

                                         I.   PARTIES
       1.      Plaintiff Marilyn Dull is a resident of Suffolk, Virginia.

       2.      Defendant Croatan Centre Owners Association (“Croatan Centre”) is a North

Carolina non-profit corporation with its registered office located in Elizabeth City, Pasquotank

County, North Carolina.

                             II.   JURISDICTION AND VENUE
       3.      This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332 because the parties are citizens of different states and the amount in

controversy exceeds $75,000.

       4.      This Court has personal jurisdiction over the Plaintiff because she submits to this

Court’s jurisdiction. This Court has personal jurisdiction over the Defendant because Croatan

Centre Owners Association is located in this District and transacts business within this District.




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        5.       Pursuant to 28 U.S.C. § 1391(c)(2), the Defendant, as a corporation, is deemed to

reside in any judicial district in which it is subject to personal jurisdiction. Venue is proper in this

District pursuant to 28 U.S.C. § 1391(b) because Croatan Centre Owners Association resides in

this District and a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred in this District.

                              III.   FACTUAL ALLEGATIONS
        6.       Plaintiff Marilyn Dull requires handicap accessible parking.

        7.       On August 4, 2018, Ms. Dull was parked in a handicap accessible parking space

at the Croatan Centre shopping center in Nags Head, North Carolina.

        8.       As Ms. Dull was exiting her vehicle, she tripped over a ramp that was within the

access aisle of the handicap parking space.

        9.       When Ms. Dull tripped over the ramp, she lost her balance. She was unable to

regain her balance and fell in the ramp.

        10.      Ms. Dull was taken by ambulance to the emergency room.

        11.      Ms. Dull suffered a painful and severe humerus fracture, which required a lengthy

and painful recovery.

                                 IV.    CAUSES OF ACTION
                                       CAUSE OF ACTION I
                                         NEGLIGENCE

        12.      Plaintiff incorporates by reference all preceding paragraphs of this Complaint as if

fully set forth herein.

        13.      Ms. Dull was a lawful entrant of the Croatan Centre’s parking lot (“parking lot”).




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       14.        Defendant owed a duty to Ms. Dull to ensure the condition of the parking lot was

reasonably safe and give warnings reasonably necessary to inform Ms. Dull of any hidden

dangers or unsafe conditions.

       15.        Defendant knew or should have known that the ramp was not reasonably safe

because it was located within the accessible aisle next to the accessible parking space and was

not level with the parking lot.

       16.        Defendant breached its duties to Ms. Dull and was negligent in one or more of the

following ways:

             a. Defendant and/or its agents failed to design the accessible parking space and

                  accessible aisle to ensure that it was safe;

             b. Defendant and/or its agents failed to design the accessible parking space and

                  accessible aisle in compliance with the Americans With Disabilities Act (“ADA”)

                  and North Carolina State Building Code related to accessibility;

             c. Defendant and/or its agents failed to inspect the accessible parking space and

                  accessible aisle to ensure that it was safe;

             d.   Defendant and/or its agents failed to inspect the accessible parking space and

                  accessible aisle to ensure that its design complied with the ADA and North

                  Carolina State Building Code related to accessibility;

             e. Defendant and/or its agents failed to correct the unsafe condition of the accessible

                  parking space and accessible aisle;

             f. Defendant and/or its agents failed to warn Ms. Dull of the unsafe condition of the

                  accessible parking space and accessible aisle.

       17.        As a direct and proximate cause of Defendant’s negligence, Ms. Dull tripped on the

ramp and suffered a severe humerus fracture.
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        18.      As a direct and proximate cause of Defendant’s negligence, Ms. Dull suffered

damages, including permanent bodily injuries requiring medical treatment, severe pain, suffering,

and mental anguish.

                                 CAUSE OF ACTION II
              NEGLIGENCE PER SE FOR VIOLATIONS OF THE AMERICANS WITH
                                  DISABILITIES ACT

        19.      Plaintiff incorporates by reference all preceding paragraphs of this Complaint as if

fully set forth herein.

        20.      The Americans with Disability Act (“ADA”) was enacted by Congress in 1990 to

“provide a clear and comprehensive national mandate for the elimination of discrimination

against individuals with disabilities.” 42 USCS § 12101, et seq.

        21.      Title III of the ADA prohibits discrimination in places of public accommodation,

including privately-owned places, and imposes regulations on the design, construction, and

alteration of such places. See, 42 USCS § 12181, et seq. These regulations ensure that persons

protected by the ADA have the ability to access places of public accommodation safely.

        22.      On information and belief, the Croatan Centre was constructed in 1996, which

means the 1991 ADA regulations (revised July 1, 1994) were applicable to the design and

construction of accessible parking spaces and accessible aisles.

        23.      The 1991 regulations were codified at 28 CFR 36.101, et. seq. The ADA

accessibility guidelines are contained in appendices B and D.

        24.      The design and condition of the ramp violates 28 CFR Part 36 Appendix D, which

requires parking spaces and access aisles to be level with surface slopes not exceeding 1:50 (2%)

in all directions.




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        25.      The ADA, including Title III and its regulations and guidelines, is a public safety

statute that protects the right of disabled individuals to safely access places of public

accommodation.

        26.      Ms. Dull, as a person authorized to use handicap accessible parking, belongs to

the class of persons intended to be protected by the ADA and regulations.

        27.      As a direct and proximate cause of Defendant’s violation of the ADA and its

regulations, Ms. Dull suffered damages, including permanent bodily injuries requiring medical

treatment, severe pain, suffering, and mental anguish.

                              CAUSE OF ACTION III
           NEGLIGENCE PER SE FOR VIOLATION OF NORTH CAROLINA STATE
                   BUILDING CODES RELATED TO ACCESSIBILITY

        28.      Plaintiff incorporates by reference all preceding paragraphs of this Complaint as if

fully set forth herein.

        29.      The North Carolina State Building Codes related to accessibility regulate the

condition of places of public accommodations to ensure that disabled people have the ability to

safely access them.

        30.      On information and belief, the Croatan Centre was constructed in 1996, which

means that the 1991 Code was applicable to the design and construction of accessible parking

spaces and accessible aisles.

        31.      The design and condition of the ramp violates applicable North Carolina State

Building Codes related to accessibility, including but not limited to those noted by the Chief

Accessibility Code Consultant with the North Carolina Insurance Commission. See 8/29/2018

email attached as Exhibit A.




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        32.      The North Carolina State Building Codes related to accessibility are public safety

statutes that protects the right of disabled individuals to safely access places of public

accommodation.

        33.      Ms. Dull, as a person authorized to use handicap accessible parking, belongs to

the class of persons intended to be protected by the North Carolina State Building Codes related

to accessibility.

        34.      As a direct and proximate cause of Defendant’s violation of the North Carolina

Building Codes related to accessibility, Ms. Dull suffered damages, including permanent bodily

injuries requiring medical treatment, severe pain, suffering, and mental anguish.

                                         PRAYER FOR RELIEF

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays unto the court as follows:

        1.       That Plaintiff have and recover judgment against Defendant in an amount in excess

                 of $75,000 for all damages;

        2.       That costs of this action be taxed against Defendant;

        3.       That Plaintiff receive prejudgment interest from Defendant as of the date of filing

                 of the Original Complaint; and

        4.       For such other and further relief as the court deems just and proper.



        This the 27th day of May, 2021.

                                                       Respectfully Submitted,

                                                       THE PAYNTER LAW FIRM PLLC

                                                       /s/ Sara C. Willingham_____________
                                                       Sara C. Willingham
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EXHIBIT A




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